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           IN THE UNITED STATES DISTRICT COURT FOR
                   THE DISTRICT OF MONTANA
                     GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
             Plaintiff,                    )
                                           )
      v.                                   ) Case No. CR 18-14-GF-BMM
                                           )
STANLEY PATRICK WEBER,                     )
                                           )
             Defendant.                    )

                MOTION TO SUPPRESS STATEMENTS

      COMES NOW the defendant, Stanley Patrick Weber, by and through
his attorney, Ryan T. Cox, of the law firm Springer and Steinberg, P.C., and
hereby moves this court for the entry of an order suppressing from use as
evidence at trial any statements made by this defendant to law enforcement
agents during the course of this investigation.
      AS GROUNDS THEREFOR, the Defendant states as follows:
1.    This is an action wherein Defendant Stanley Patrick Weber (“Weber”)
is charged with violations of §18 USC et al concerning the alleged sexual
abuse of minors. As part of its investigation, Health and Human Services
Special Agent Curt Miller and Fred Bennett, a Special Agent of the Bureau
of Indian Affairs, Office of Justice Services, conducted an interview of
Weber at his home on May 19, 2016.
2.    Any statements, confessions, admissions or tacit admissions attributed
to or made by Weber were involuntary, as they were the result of entrapment
or overreaching deportment by federal officers.
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3.    A statement is involuntary if it is “extracted by any sort of threats or
violence [or] obtained by any direct or implied promises, however slight, or
by the exertion of any improper influence.” Hutto v. Ross, 429 U.S. 28, 30
(1976). It is the Government’s burden to show by a preponderance of the
evidence that the Defendant’s statement was voluntary based on the totality
of the circumstances. See United States. v. Lopez, 437 F.3d 1059 (10th Cir.
2006). The totality of the circumstances must show that the Defendant’s
will was not overborne by physical or psychological coercion, or by some
other improper inducement. See Schneckloth v. Bustamonte, 412 U.S. 218
(1973); 18 U.S.C. §3501.
4.    Psychological coercion can take many forms. Here, it was utilized by
downplaying the significance of the investigation and using casual, friendly
meandering to falsely create the specter of informality. Notwithstanding the
fact that Weber had a looming indictment for federal crimes, he was
assuaged into speaking as if he was being casually interviewed about his
career.
            “Voluntariness depends on such factors as the
            surrounding circumstances and the combined
            effect of the entire course of the officers’ conduct
            upon the defendant…The test of voluntariness is
            well established: “Is the confession the product of
            an essentially free and unconstrained choice by its
            maker?...The line of distinction is that at which
            governing self-direction is lost and compulsion, of
            whatever nature or however infused, propels or
            helps to propel the confession.’” Henry v. Kernan,
            197 F.3d 1021, 1027 (9th Cir. 1999), citing Collazo
            v. Estelle, 940 F.2d 411,416 (9th Cir. 1991)
            (Emphasis in original)




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5.    A thorough review of the circumstances of this interrogation will
reveal that the interviewers did overcome Weber’s will, albeit not be force or
threats. Rather, they cajoled him into compliance, and in so doing elicited
statements that were not the product of his voluntary decision to speak.
6.    For that reason, such statements should be suppressed from use by the
United States of America at the trial of this case.
7.    Undersigned counsel has conferred with Assistant United States
Attorney Jeffrey K. Starnes, Esq., representing the United States of America
in this case. Mr. Starnes has indicated that he does object to the suppression
of any evidence.
      WHEREFORE, and for the foregoing reasons, the Defendant prays
for the relief requested, and for such other and further relief as the Court
deems just and proper in the premises.
      Dated this 13th day of April, 2018.

                          Respectfully submitted,

                          /s/ Ryan T. Cox
                          Ryan T. Cox,
                          Admitted Pro Hac Vice
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                          Florida Bar Number 0032686
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                      CERTIFICATE OF SERVICE

       I hereby certify that on the 13th day of April, 2018, I electronically
filed the foregoing motion with the Clerk of the Court using the CM/ECF
system which will send notification of such filing to all parties entered in the
case.

                          /s/ Ryan T. Cox
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                          Admitted Pro Hac Vice
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